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                                                ][1 J   TAE, STATE            COURT OF cum coumn,
                                                                          STATE OF GEORGIA

WILLIAMA . (J[13SON and
ROSE CIJBISON

           F'l a iriti i:f 's,
                                                                                               Civil Action
Vs                                                                                             Fit-, No, : 2006PL 2807-2

FORD NICTOR, COMPANY

           L)F.lendant,,

                              ANSWER AND I)IETlEN'~]ES 01? F' ()NI? PVJ[ OTOI7; CO11R~'A:N`~t
                              ~TO P~L :A .i r~T i:F f•~~ "
           GOti7]ES ]VOW Ford Motor Company ("lF{or ci "}, named ass a def,ncimii : :in the above- :>tyl{, d

riv P action, and miles 11 ds , its Answe r and . Defenses to P laint iffs ' Amended 01[dRecast Complaint

("Aime ;ncle;dl ~Cbrnp laint";~, respIN,1fiiEl y showing the- Court s iF01 l oIavs :

                                                                              FIRST IDEIFETKS l~

           ]Plainti ffis' Amended Complaint fai ls to s1 .at l-. a claim upon which e1LieF may be granted

& a Iri this (kfen .d '. a.n.t

                                                                           SECCirJD CfE]?:ErdIS]E

           . 1 11T' 1 ,5 d ]C tIl C17l   and   `f f'Illlf`,   as   $!?   this de: ff;nC lal'E t are or :ma), be imprc~pe ;r .



           I'1a.i iitif3Ea ' claims are or may be barred by 1 he doc4ine of c ,untri buLt iaxy negligence .




           Pla.inati fi 's' chums are or may tie; barred, in whole o r in pout, by the d a+,l.ririe of

comparative negligence .
              Case 1:06-cv-01237-WSD Document 2 Filed 05/23/06 Page 2 of 15




                                                           FIFTH ]7F'sFL:N~~~E

         'To~ the exi :enl ;s1iowni by the evi(iE,rice ;, this de- :femdarit Shows that Plainl :ifl-s failed tO

exercise ordinary care for their om i safety arid tlle're,f 'ore, P lairil :i :Fi's are not ej ii :ilrle~l 1; co recover

from this defendant .

                                                       SIX-T]q DEFENSE'

         I'Pla.ilrytifiEs' damages are riot 1lie apiroximai :e result of any               ;a~et or failure to act af tJzils

def ,-ra iiFuryt and therefore P la.iiltifi's are not eniti tled to recover fr om this (l e#endant .

                                                    SE VENTH DE FENS E

         F'laiiil: i ns coixld l , Er )7 tlh,-. exercise     f ordinary c a ire, have avoided the c ,otise ;quE;r_ic. es of any

alleged act ~or fai l ure to act o f this defendant and therefore Plaintiffs are, not entitled to Irecover

fi•c,rn this defi,-ndwi1:.

                                                      EIGHTH DE
                                                             DEFENSE

         F1a:irit i i 'f's ' damages, i , f ' ;3dl. y, were caus ecd b y, the acts or ixm issi an is of persons or entities

other than this dLef -m,l aryt and therefore 1']a bztiff's may not recover damages from this (10endant in

,my sum .

                                                       r1"NTH n j--~ FEN s E
          Plaintiff#fs ass umE, d the irisk of such, injury or damage s they may have sustained ~mid

then-16{ire P ]L a.iintifjFs may meat recover ;From this ,~efer~d~~rEt.




         To the e xtern ; that discovery supports the s anie, this defendant asserts he defenses '

product abuse, product isuse, mdl,cir production o,liific,atio iz and altil,11<tion .




                                                                    2.
                 Case 1:06-cv-01237-WSD Document 2 Filed 05/23/06 Page 3 of 15




             Any product a ll . eg, edl;y m ra.n.u fkltli red by 'this de-i:e,n dla.n i t„ vvllii ch r is in question, Nvas not

 defective in any respect and thE:reii:»re Piainti f£s may not re~cov ei - fi-arn thi s defendant,

                                                  T1~V~ELiF 'I' H DLF~'srJSE',

             Plaintiffs' claimed injuries, :if a3y~, 'were not calxse ;cl, erdiaricedl, or jirtcrease-(l as it result of

any act or :failure. ta a c t +D n the part of'this de fenciatit .

                                                I'llTIRT'E1=, NI ['lH ]D E'FEN S' E

             At all 1:iirnes th is defendant was in the exercise of that (i i of care, reliq,u:ired by law and

therefore. Plaintiffs may not recover oif this defen(huit .

                                               F'OURTIHNTH DEFENSE

         To t he extent that ]']Lai:nk i ff's Sit-e:k, to recover against thi s defendant for any a lleged Breach

o:E' VVa rrmty of any kind, this de- fe nd ant st at es that there is a lack of privity"

                                                 FIFT'EENfTI -I DEFL:N "SE

         '['his cIf,i:en. d . an.t (lid. not bre.;ach any implied warranty owed tic) Plaintiffs, ;end ba r reason

1:l;I ere* f, Plaintiffs : may not recover damages of this defendant .




         Ti defendant (lid not breach ,pry express ~+~ anr~u~ity owed to Plaintiffs, Plaintiffs, and by reason

             P]L a1 : ntiffs rna y not recover damages o fttus cle ,fend anE.

                                              SI ENFr7TEE~1TH D ;EF'FrN SE

         Plaintiffs' claim for Punitive (hu nages 1Faif s to state zt cl a i m upon iii relief c an be

gya nted.,




                                                                3
               Case 1:06-cv-01237-WSD Document 2 Filed 05/23/06 Page 4 of 15




                                                I?IGET EE NTH DEFENSE,

          'f`h.erl" is nice basis i.n[ law or 1Fact for the imposition of pun. ifive damages with lespol"t to the,

claims cfi~ :Plaintiff.; against this defendant .

                                                NJINIl~TEFINTIJ DEFENSE

         'Plaintiffs' , A. nnlem,ded Corripl ain 1., to the extent that it seeks; punitive d.aniaj;e,; , violates thi s

def'endant's rights to procedural due process under the Fourteenth Arriendment of the United

States (='onsl:il utio» and the {Con sti:buti on of the State o f Georgia and therefore faii l s to st at e a

cause of action or set forth a rlairn uplon whicri damages can ble awarded .



         Plaintiffs' Amended (:o;mplairat , to the extent that it seeks punitive damages, violates this

clesfenda nt" s rights to protection from "excessi ve i ,i lne;;" as provid,,-d in the Eighth Amendment of

the United S tates C on,,1 :ituti c»1 an al . Article L, Section ][, Paragraph X VII of 1lie, Constitution of the

'S'tate of Georgia and violates this e~l~fi~ J1 +i ;~ 11,'s right to su6s lra~r.~ti~~ e° due pi-mess as 1P: ro~rid.ed 'in the

Fifth and :Fo U rl:eentlh A. mCrldinen_ts O f the United 'States CI on. stitution and the Constitution of th e

Stat e of .
          Georgia
                a; n ~ d tri .er+e :Fm e fails to state a cause of ar1 ;io :n or sill, Earth a claim suirirl c F rtimg ; the

punitive damages claimed .

                                           7_!i,~'Ei s7;~'Y_nF,,S5T D EF' E ]V SF

         The claim for " pun il, i •ve rlalmq;e:s'> is barred by the provisions of Aiticle VI of the

Constitution of the United Stales
                           .

                                          1 , 'l rr lil V   1,,`   ~ AJ .EC' \ JL,I I~   D   F ..'1, 1 J,   i   ST"

         7 ffith o i " 1: li.nnitin~ ; the ;ge;r~~ e~ ~ality of the previous deiEe:rise, an aw ard. of

against this dlefiemdain•t would violate this dE,i :endLan .t's clue; process rights guar,anteE,d by the

Fourteenth .Axrie:ndrri eml oot the United 'Stales t;o n stitu#i~.ori and by Article 1 , Section 1 , Paragrap h




                                                                            4-
                    Case 1:06-cv-01237-WSD Document 2 Filed 05/23/06 Page 5 of 15




 ~l oiP the C'ar~.~titUtio~r~~ c~f' C~ec>rgai~,~ l~~~r~~~~,~e ; (1} 1;~~is ii~~i .'e .n~~Lan .Y lh~~,~ ~n~onotice of ~a~r ~nea~ns +~ ;F

a~~centai ni~i~ ; vv1~~~1 ;L~er, o r i :n ~~vhat ai~foix~il :, iC nii.g ;r~t be ; sialb~je .ct t{o a pe:na:lty q1' punil.iv~e dLa .na,~~;~~.~ fi~~°

the ro~-~,3~u{c~f alIeged l~~~ Plaint.i :F1s i:n~ ~t~iis raise, vvlii~.ch~ lG~c,k : of r.~otic,e ; v~~~is ~~o~mpo~zndE,d ~~y~ alb ;sEri~ce~

of any a.d.equ~a,t~~ i»- rneaniri~ ;iGl s1:a .n~dLa.rds ~~s to tl~~~ 1cr .r,~CE c~f c;anduct 1.h,at ~ .riight s~ibject thi.~

cEe ;fendant to p~u~n :iti~re d .a.~n+~~ ;~~ .~ o~~r a~~ tc~ the ~x7lenti.a .1 ~~rnount of .~tzc}i an ;~•~~a .rd ; (Z~ a.n~ award oi~

~r~~tiitiive~ ~dam~i~,e;s~ ,u~n~~~e~r C~,~>r•g ;i~~a 1a~~~ does ricft ~ ;iv~e ~~o~;~~ir .z~,ance to 1 :r~e: ~~~~~rr~x~arabili~r}~ of tlh,~ a~~v~~rd

tC1 <i~JJ &1'i ~;~ 1[7 () 1:hle T', Sll" C11 ~,2,t { :c15e5 ; i;3} an a'~v'ai+~ Oj' p lXi111.1'Vi~ C~2LC Il a;~i~5 i ]Cl Ge~ t'f~l'.a, lk[l de C ~I I~ O ]"~ , l a'~i

st~~i :u~te ~daes ~Z~~~t give ade~quate~ c ;c~risi~~~er.~~tiot~ to tla~~ ~~~~ci~~c~r~tiior~a~lity of ~the~ pl~riiti .ve d.an3a~~~~ .~

a~~v~~~~de ;d to 1~rie: r~rr•ari~ ; dlc~ne~ to I''].a.i3~~tifi:s ; ~trui (4) ryo X~rovi ;~ion of Geor~;iia la~n~ nor the i3eorgit~

x~~~iiti.ve ; dan~~~~;f,t~ sche:rrie; p~rovic~f::s~ adeyuatf, ~trocedur~31 s~~i:e ;g ;ua.rds c,ot~sis~te~rit ,~~i~t~~ tlh~~ c ;rii :~ria

set iFor~tlh its ;~1:at~_ ]Fa~rrn_~~Iu~ix;~]__.~'~~a~rc~ . Iyi.,_ Ca__v__ Ca:rr~>bE~ll, 538 U ~~ . 4Q8 (2003) ; C~~~~~_~_

IridustF•i~e,~ :[rie . ~~ . ;Leat}ierm ;~~ Tc~c_~1_~G'~rou~=Ine_, :i3? j~,~i. 4Z4 (2001} ; E~lvJi}N of N~~:rth ,A.nn~e~rica~

I r~c~v~CYO~rf_,_i]L'~ ~) .~'~ . 5`i~? (~'~'g'6) ; ]P,a~~i.fic n2uhxal ], :i#e ]:rES~Cc~. w . ]Hasli~, 4ct9 Cf .S . 1 i;l~~~a0,~ ; 2u'~cl

T~Iatl.h~e_~v_;; ~_Fldriic~L_, ~'~i',~~ L1 .S . 31fi ~('1~~7+~ ;i for tie; ianpositi~~m c~f'a punil :ive a~vva~~cl.




            t~17~ 7~1.ti~lTil~l te+a 24~I~fI1GFtf1()17. ~O~f ~~ e~DC~ ;I a ~2 ,V~ 111 ~ h l~~ ~~~~Sf; lIl I'~~~ ; ~I'C~~ " r0 a[l y (,lai m , iEor "~)Y1111 t ;~~~E'


dl~.nna;g ~ e,~" agair~~,t thi :~ def~,r~d~~~1 ~~vau ~ld tie ; unadns~titixti~~ ~n ~ ~!'~ :Fc~r tr~e~ :Fallo ~~i~m,~ reas~>>r~~ :

            (: 1)        'Fhi:~ de~ff .ndanl. di id notlii.nEg; ' for w ~hic:h it should b ~ e ~~~ ~u~:ish .ed, ~~e ; n ~ a.l ii~ :ed, ar cif,ter~-e,cl

aa~d . ~lh ~ :;~re;for~~ any rerover ; y ~~ :F ` `pi~r~itive dama~ ;~.~~' ' ' ag, ain ;~t this deff,ndaril vroi.~l.cl dl ep~ rirr e~ this

dL~:fe ,ndant a ~f ' prc~~ie: rty cv;ithout clue; pr~~~~~~ .,s~ of law i~~ violation cEf ~tl~~e; Fou.rteE~r~th A . n~~~~1,i ~rr~e~rit t~i^

t:ri~ ~ ~~r~ ~ite~i .i1:a,t~~,~ C ~o : nsl.i~ti~# ii»3 aa~7~~ iii ~ ~iol<~ti~~ 3a ~~ : F Arl ;i~~1L e~~ 1, ;Se~;,a7on ~, P~~~-a~g;raph 1 of 1:~-ie ;

C;t~31 ;,fil ; ution of the itatE, of G~;,~~~rgia;

            (2,)         .A.r. ~y rec~ ove : n i of "` .pU.n ~ i~tive darria~,e:s" aga iri~~t t~iis ~~~eFericf~u~~t ~~ cn~1d viol.a.t~~ 1.h~e




                                                                                 5~
                Case 1:06-cv-01237-WSD Document 2 Filed 05/23/06 Page 6 of 15




pzovisi.oris of patiicl e 1, Section :l, Paragraph t of the (,o:nsl:ittition of'the State elf Ge0xgia ;

                   Any recovery of "punitive i1ira .g;es" against this defendant cru :ld deprive this

defendant oi' its ri€;lrlt to ;;11U.;tatitive due process as guaranteed by the Fifth and Foi .u-teci7th

E1imerEdrnents of the United `.i1;ates C.'oristituti .on and the C:omI.ittition of the 'S)Iate of Georgia ;

          (4)      Any recovery, of       ccP UA1 fiVe   d .a I77 ag 135 "   il violate the glax,anty against

"excessive fines" as provided in -the ; Eighth Amendment of the                      United   States   Corlstillut 'toll and


Article :l, Section 1, Paragraph 17 of the C'crns,t :itutionn of the State of Georgia,

                                                                     D E F'E]v S E

          I'].a.ini tiflEs' claim for punaiti ve damages aga inst Ford camo t be nn;aiintairiE:d, because ZZ

a`arard o f punitive damages under r.. urrent Georgia law would be void for va.g;u ien.ess , both far i all.y

and as applied .      Among other defilc, icmo i. es, there is an absence of adequat e nolioe- of what

conduiet is si jl)j~e,et to puni ; ,lun[en 1[,; an absence of adeqxai :e~ notice of what ptitiish nif,rrt ma~l ]be;

imposed ; a i absence of a predleire;rmin.ed linl i t, such as a maximum rnullipl[e of compensatory

damages or a nzxcii rnum a.n rnaunt, i.>>n the ;itnoti nt of punitive, damages that a Jury ma), i i npase; a

riislc tria~t p itn itiive, dwrt<:ige;s 'Nil"] be; imposed retrospectively based on conduct that ways not deern ed.

punishalfle apt the #irric the conduct occurred ; l i1: vim xldd perm, it and encourage arbitrary andd

di:;rrirni nat oty e;ri#arce rrie;rit, all in violat ion o f the due process clause of' the f'ourtelellih

Amendment to the United States Constituli on„ Article 'L , Section 1 , Paragraph I of 11lie

COnStitut i. ari of the State of Geor gii a., and the cornrn an law and public policies of the 11,51'ate, of'

Crt ;org a.

                                        7-"AT]V7''i~-]Ff1~TH DEFENSE

          Plaintiffs' claim for punitive damages against Ford cannot t>e nnaiir.aa:irie;cl, any

a,"•Ud of punitive damages ,under Georgia l aIN Wcnxld'd tl e b y a jury, tthat (1) is not provided




                                                          6
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standards of su ffic ,ie:nt clarity for d~etell-mitun.g the appro plriate;ne; ss, and the appropriate size , of a

puniitive damages ~Mard,, (2) is not ade quatel y instructed on the limits ori punitive darnages

imposed by the applicable grin czp1Ee, s of deterrence and punislhiment, C-3 ) is not expressly

prohibited :Erorn award i ng punitive d arnages, or dLetelr .-mining the arrio u il, of an award oil punitive

damages, in vvhoile; ~at in part, on the basis of inv idi.ciusl;y discriminatory chaxacteris tics :, including

the xes,ide:nci-, wealth, arid rc>Yparake : status of Ford, (4) is peraiitl:ed . to avvw•dl punitive, d unages

wider a standard for det e; rmin. in g liability for punitive, damages that is vague and arbitrary wid

does not define with sufficient clarity the conduct or mental state that makes punitive darnages

pf,trni ssil711 e., and (`i) is 3ao t subject to adequate trial court and appellate j udic i al review for

reasonableness and fixthf,r•an .ce ofJlef;it:irnate purposes, on the basis of o1j+-,ri:ive, staiadairds . Any

such verdict IN OU1 11 violate Ford's due process fights guaranteed by the : Foun:e .entli Annf,nd in. en.t

to J i e U nit ed 'S tat es Gonstituti.ein and by Article 1 , Section L,, Paragraphs l mdL 2 of the Georgia

Constitution, andd would be improper imileir the common l aw and public policies of the 'S tate, of




                                       '1''VVE,r1"TY. c', U :T:H: : D i EFENSL

        Any award of' punitive damages based on anything other tkizai For(Fs conduct in

connection wi th the desi,gn, manufacture, a nd sale of the specific single 2001 IFord F-350 that is

the subject cif' 1.hi,s lawsuit would viblate the due pl-ocess c lause af' 1 he Fourteenth A;rriericlment to

'he United States Constitution and Article 1 , Section 1, Paragraph l af' 1h. e Georgia Constitution,

quid would be inllp;roi},- r under the common la w and public policies of the Stat e of Geor~~iia~,

because My' other judgment for punitive damages in this case cannot protect Ford against

impermissible mu il'tipl e- p un:is hm n{-,nit for the same v vi-crr ig, and against pianiishmej11: for ex'tra-

ten-itorial Conduct, including especially conduct that is lawful in states other than the State of




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. In addition, any such award would violate pri.r icilPlfe;s of comii ty wider the, laws of the
Georgia

State of il3eorgia .

                                        TAT]V`P(-,33EVE N7'H D EFEN SE

         T'cl 'th e extent that the law OMf,org;i a permit s punishment to ti e measured b y , thenct worth

or financial s tatus of Ford and impos es greater punishment on . +3ie:Feridkmts with . ]lu ge:r net worth.,

such an award would bel u.ncon stitutional because it permits arbitrary, capricious ., and

fundamentally unfair punishments, allovTs b i as and prejudice tic) infect veridicts imposing

p,u :nisrment, a:llo ws p1i.n,i,slvment to be iirnpasi-A based on lawful :profits and conila,n of Ford in

~~-tit,r St<<tes , and M1UNs diissim.i: l ax 1:rei .O:rn e: nt of sim il arly s i tuate ld defendants, in viola.tiian of the

due process and equa l protection provisions of the Fourteenth Arnen.d'. rnicint to the United States

+Ctsinstitu tialln, the C onlll ie;rce Clause: of the United States Constitution, and Article 1, 'Section I

Paragraphs I and 2 cift'he Georgia Constitution .

                                                                     DEFENSE

         The law of Michigan applies 1o punitive 11AJ .ria~g;es . Pursuant to that laNv, rice punitive

{damages , can b e WNar ded

                                          'I'`'V EP1I ' Y .N fNTH DEFENSE

          F'lainli.f#'s' claims are or may be barred 'by the statute af ' re,rlose.



          F'laiyil :i :fis' claims are or may be- barred by the dorlrin e of pr elern ptit»i .

                                            T'iY-F'IR ,ST DEF£]vSE

          Plainl :iFEs' claims are car may be barred by the applicable statute of limitations,




                                                              8
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                                T~~ :[]t'T"S .'-•~>l~~C~D]~I) I)IEF~?I'dS~ ; .A .r~]D .A .I1~5P~:EF .

          Responding to the specific allegations of' the numbered paragraphs of P]aintifls'

Amended Carrip lai nt., this 4 .-,Fenc lzint further, shows as Jbl[ows~~

                                                                 1.

          Defendant Ford states that it i s wi1; hiaut sufficient kniaw;le.dlge, to form a belief ass to the

1:rutli o r falsity cd' thie ~flIle;aptions c,an tairie;c l in F'axa;gxzipli I oiE Platin.t :iffs' ,A .rnein~died Complaint and

(;silk the3-ef'ore neither a+ :lmi1: -nor deny :carne .




          lord admits that it is a foreign corporation 30 .1i r1ariZed to transact business in the state of

Georgia            that it may b(.- persona-1113, served with pr~~ ~c~~;~~~ through i ts registere,ci a~ ;emi t,

Corporati on ]Process Company, a 180 ~ C'~heroke,e Street, Ni »•ilelrta, Ge orgia 3 010,6~ 0 . I)E,i:e~ n .d . a nt

Fo rci deni es ,i :; d1(, retnai ni n«, -,iIle~,at i~~ ~n ,s of Par~~l;~,zix~Yi :2 of F'la :intiifs " , A. nn,ei~~~~e~~

Comp :lzIint .

                                                                 3.

          Defendant Ford denies h e                      i n F' uagniph. 3 o:FPI ,iirtiffs' Amended C,o rripla ini..

                                                             FACTS

                                                                 4

          Defendant F orcl state s that it is without sufficient kriowlf:cfg e; to ki rm a. bel i ef avs to the

truth or falsity crf' t;he ~fl l,e;;w:i1 ons contained in Paragraph 4 +a :FPl, ji.nti#fs " Amended Complaint, and

can therefore nei1e; r actmil: : n or deny s arne .




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             Case 1:06-cv-01237-WSD Document 2 Filed 05/23/06 Page 10 of 15




                                                          5.

         I) e fe;ndarrt Ford states that it is, without slu:ffirii e.nt lc ioravl eldgr ~, to :fcxnz a belief as to the

truth or IaYs ity o .F the al legations roni:a.ilac d i n Paragraph `i of P1a inlif#'s ' Airendled . Complaint and

can therefore neither admit n.c , r deny sime .

                                                          6.

         Defendant :Form states that it is without sufficient ;aiowl imly ,; to : form a            ttl:i e f' as t o the
truth or falsity of the allegations i .o»1:aairved in Paragraph fi of PlainiilEf's' Arnerndled Complaint nd

can therefore n~:ith~~r a1fimit n .a T deny swic .

                                                          7.

         I)e ;fe;ndunt Ford denies that the subject vehicle ways d~~ :Fec,ti~Te~ in EIR}T niavieli . and denies

any ailE°galinms cast against it in Paragraph 7 of F'la:iritii :fs' Amended CornplLa.iint . Defendant Ford

states that it is without sufficient kno,wted ge to form a belief as to the truth or falsity of the

remaining allegations contained in Paragraph 7 of Plaintiffs' Arnendedl Complaint and can

therefarE : neither admit nor deny same .

                                                          8.

        Defe,r.i darit Ford den ie s that the subje n vehicle was del:Fec,tive in any n1ammer and denies

any allegations cast against i t iri Paragraph 8 Af Plaintiffs' A mended Cornpl4ijlyl . Def endant Ford

,s1:at~~.~ that it is without suFfirient Ic~~o•~vl~e ~~ ;~~~ to form a belief as to the truth or falsity of the

remaining allegations contained in P a.ra.g ,r p:h 8 of :Plaintiff
                                                        ;
                                                        .
                                                        ; ArrEe,nGle dl Complaint                              nd can

therefore neither admit nor kny same' .

                                                          1) .

        Dei:enCLui t Ford denies that the subject veh icle was deiEe; et:ive i n any manner and denies

way allegations case a',g~a~iz ist it in Paragraph 9 of P' l,ail ritiffi" Amended Complaint. Dcfendant Ford




                                                          110
             Case 1:06-cv-01237-WSD Document 2 Filed 05/23/06 Page 11 of 15




states that it i s without sufficient l :riowlecige to :fomi a belief as to 'the- with or :Falsiity of the

remaining, allegatio ns contained i n. Paragraph !) of 1?hai;rytifEa' Amended Complaint and cwi

tYie:reforE: neither admit nor deny same .

                                                           1 0.

         Defendant Ford denies that the subject vehicle was defective im any marmer and denies

any allegations ca st against it in Paragraph 10 o r m ainti ff's' Amended Coinp lain# . D-1 i:endla.n.t

Ford states that t is without Sufficient k;rkow lf,do, to form            belief as to the truth or falsity of the

iresmainin g; allegations ccnlaiiriecl i n P aragraph 10 of Plai nt:iff5' AI r.Ie.n kle:d! Complaint and can

therefore neither admin4 not- deny sanle .

                                                       COUNT I

                                                           11 .

         Responding to : Paragraph . l 1 of'lPlaintiff..' Amended Complaiint, Defendant Ford reasserts

and incor porates by re.1:e ;re:n ce;, as if fully set out herein, its defenses and respon ses to lP wra€;raphs

L through 1(1 of F'laitrti iEfs' .mended Compllaunt.

                                                           12 .

         Defendant Ford adi-n its that it designed in p art, inanuf lrl; u[red in part, and sold Ford F-1510

v C:liiic;he s to authorized dea ler s .   F ord   denies as stated the relyn.ailziilg   allegations contained i,.ri




Paragraph 12 of'Plaintiffs' Amended Complaint,

                                                           13.

          Defendant Ford denies the alle~ ;~~ti~~3a,~ in Paragraph 13 of Plaintiffs" Amended Complaint

                                                           14 .

         Defendant Ford denies th e allegations iii Paragraph 1 4- Of PLIi. ritiffs" .A.rnen de d CQ:rrip l a int.




                                                           I l.
              Case 1:06-cv-01237-WSD Document 2 Filed 05/23/06 Page 12 of 15




                                                                .
                                                                1`s


         Defendant Ford deni es, the allegations in l'arag;raph 115 of Plaintiffs' ~u-n en.dted iC onlp: l aint.

                                                                16) .

         I){e:Fendant Ford denies die a:llega~tions in I'<~'a.g ;raph 16 of F'lainti]Efs' Amended Complaint,

                                                          COUNT ',[l

                                                                17.

         Responding i.cr Paragraph 1 7 of Plaintiffs' An7~~lzd ~ ~,~ C,a~rr~X>laint, D~~i:en.d ~. an.t Ford reasserts

vid inco po rates by reference, as if fally set out 171,1rein, its defenses and :responses to Paragraphs

1 throu~ h ]. fi of F'iaint.i.Ffs' Ai r,Eeridle d C-o nnpl ai nt.

                                                                18 .

         Defendant Ford dcniie;s t he allela;atick;ns in Paragraph I F. of P'laiirtt ii ;fs' Amended Conipl.aij.11r .

                                                                19.

         Defendant Fo rcl denies the a lle gations in Paragraph 1ST o f Plaintiffs" Amended Go rriplainil:.

                                                               20 .

         Defendant Ford denies the allegations in F' airagrapli 2 0 o :FPI airt:i#fs' . A,rne : ndeld ( .c):rrlp1ain.i : .

                                                          C("-)UNT I'll

                                                               21 .

         R.e spandi n; g to :Paragraph 7. l of 1']aai iiafl :s' Amended C'ompl ;3in x, Defendant Ford reasserts

m d i i n lc o ; rp orate s by irei'ercair, e , as if :fu11 .~ set oust herein, fi ts defenses and responses to P ara.g;ra; plzs

: l through 2 0 of Plain itiffi°' Amended Cornplaint .

                                                               22 .

          I:ie;f'e ; n i d a:nt Ford denies the 91 legations in Paragraph 22 oi .' :Plaintif 'f:;' Amended Complaint .




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             Case 1:06-cv-01237-WSD Document 2 Filed 05/23/06 Page 13 of 15




                                                           23,

         Eh- #endant Ford denies the allegations in Paragraph 23 o fr Plaint i ffs' Amended Cornplairit .

                                                      COUNT IV

                                                           24.

         R.e:sponidling to Paragraph 24 crf']? :laintifFs' Amended Complaint, Defendant Ford reasserts

and incorporates by rf,ier+enre, as if fully set out herein, its defenses nd responses o Paragraphs

[ t : hroiag17 2-3 of Plaintiffs' emended Com pl. a,i in ir .

                                                           25.

         Defendant Ford denies the allegations rc}111:a.irl~~d in Paragraph 25 of Plttinti fE~~' Ann~em~~~~{i

.
Complaint

                                                           26.

         Defendant F'ord. d enie s tie allegat i ons C10nl:a,iil-ld i n ]Paragraph 2 1 5 of Pls liDtr .ff,;' .A.r_ne : adled

Cani;pl<<int.

                                                     DI,3C0'VE RY

                                                           27 .

         Defendant Ford denies as stated thc aElle€; ettia ns contai ned in Paragraph 7 of 1? ;lau:ntiflEs,'

Amended ("'arriplaint .

                                                           28 .

         Defendant Ford denies the allegati on s con .tai.rre;d L in th e "` •W] HE:REF' ORE" P -m•a.g ;ra;p:h

i rnmE.ciiately following :Paragraph . 27 or Plaintiffs' Amended Complaint, i :rlcluding subparts (1)

lttuou.g;~j ~(7;i, e:x.cept t:hXr Defendant ord also requests a t rial by j uTy.




                                                                ]. '-' I
                Case 1:06-cv-01237-WSD Document 2 Filed 05/23/06 Page 14 of 15




                                                         29.

          Any allegation of P1aim tiffs'' A:rrEenclecl Complaint not heroin Specifically a(hilled is

her.-'by denied.

          `0,'I4H :] R RE', , having fully ctrlSwllFe;cl P ' l,aiintii :fs " Amended C`ornplaint, Defendant Fo rd.

prays that it be clischa;r ;f ;d without liabiillit)l, "Vi1 .h all costs of this action cast upon 1'la.iilitifi:s, and.

tha,c it be given a trial by a ju xy as to al l pro per issue s in the case.

          This :22nd day of May, 2006 .


                                                                nK   K ]E NR1A, LOIN G       & A :L D RI]D CJ]E L LF

                                                                        lo/        0,             ol   .



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                                                                c:rEAe ., K . Reed ,     .
                                                                                         ]E514
                                                                C?e ; o rg, i a F3 u ]V o . . 597597
                                                                Michael Ft, Boo r mari, .         ?3(j
                                                                Georgia fku-'No . : 067798
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                                                                Georgia F3m :No . : 140870

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                                                                Attame ;rs for Die f e :ndain t
                                                                Ford lV[otor Company




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              Case 1:06-cv-01237-WSD Document 2 Filed 05/23/06 Page 15 of 15




                                         Ci   R l .IFI L rATE OP',E RVICE

         I hereby rf.r tif~, that [ have served a copy of the within anal '. foreg oing upon counsel of

record via Uniled ~'>>tzite,s Mail, postage p ru-paid . to ensure de]_ive-iry as :
                                                                                 follows

                             James E. Cmle i-
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         This 22nd day of Pd a.y, 2', CIOEi .


                                                                                     .
                                                                     Oro '~yo .~r
                                                             Mat~hew S. k:jllol
                                                             Gt,or•g ;ia Bar ]Uc, . : 140870

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